Case 3:21-cv-00673-JCH Document 42-2 Filed 05/13/22 Page1of6

EXHIBIT A

Case 3:21-cv-00673-JCH Document 42-2 Filed 05/13/22 Page 2of6

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

KRISTEN SHEA, INDIVIDUALLY, and CIVIL ACTION NO.

TYLER SHEA, PPA KRISTEN SHEA, 3:21-CV-00673-JCH
Plaintiffs, :

v.

CHATERAM SIEUNARINE and

CHET TRANSPORT, LLC,

Defendants. : MAY 6, 2022

DEFENDANTS’ RESPONSESS TO PLAINTIFFS’ FIRST REQUEST FOR ADMISSION
OF FACT

Pursuant to Rule 36 of the Federal Rules of Civil Procedure, the Defendants, Chateram
Sieunarine and Chet Transport, LLC, hereby respond and object to Plaintiff's First Request for

Admission of Fact as follows:

Responses and Specific Objections

i, On May 30, 2019 defendant Chet Transport was engaged in the business of

interstate freight shipping, hauling and trucking.

ANSWER: Admit.

2. Defendant Chet Transport is a motor carrier as defined under 49 C.F.R. §§ 390.5.

et seq.

Case 3:21-cv-00673-JCH Document 42-2 Filed 05/13/22 Page3of6

ANSWER: Defendants object to this request to the extent that it improperly calls for a legal
conclusion or determination rather than an admission of fact.

3. Defendant Chet’s Freightliner commercial box truck that is the subject of this
lawsuit is a commercial motor vehicle as defined by 49 U.S.C § 31101(1), 49 C_F.R. § 390.5 and
49 C.F.R § 383.5 et seq.

ANSWER: Defendants object to this request to the extent that it improperly calls for a legal
conclusion or determination rather than an admission of fact.

4. Defendant Chet and its employees, including but not limited to defendant
Sieunarine, were subject to the requirements of 49 U.S.C. §§ 31136 et seg. as of May 30, 2019.
ANSWER: Defendants object to this request to the extent that it improperly calls for a legal
conclusion or determination rather than an admission of fact.

5. Defendant Chet and its employees, including but not limited to defendant
Sieunarine, were subject to the Federal Motor Carrier Safety Regulations, 49 C.F.R. §§ 390.1 -
396.25, as of May 30, 2019.

ANSWER: Defendants object to this request to the extent that it improperly calls for a legal

conclusion or determination rather than an admission of fact.
Case 3:21-cv-00673-JCH Document 42-2 Filed 05/13/22 Page 4of6

6. Defendant Chet and its employees, including but not limited to defendant
Sieunarine, were subject to Section 14-163(c) of the Connecticut General Statutes, and Regs.
Conn. State Agencies §§ 14-163c-1 and 14-163c-2 as of May 30, 2019.

ANSWER: Defendants object to this request to the extent that it improperly calls for a legal
conclusion or determination rather than an admission of fact.

7. When defendants Chet Transport and Sieunarine operated the Freightliner
commercial box truck that is the subject of this lawsuit in interstate commerce on May 30, 2019,
they confirmed that its equipment, including, but not limited to, its axles, wheels, rims and tires,
were in good working order as required by Federal Motor Carrier Regulations 49 C.F.R. 392.7 and
Connecticut Safety Regulations §§ 14-163c-1 and 14-163c-2.

ANSWER: Defendants object to this request to the extent that it improperly calls for a legal
conclusion or determination rather than an admission of fact.

8. As of May 30, 2019, the defendants were required to inspect and maintain the
Freightliner commercial box truck that is the subject of this lawsuit in a safe operating condition,
pursuant to the Federal Motor Carrier Regulations 49 C.F.R. 392.7 et seq., including but not limited
to 49 C.F.R. 396.3, and Connecticut Safety Regulations §§ 14-163c-1 and 14-163c-2.
ANSWER: Defendants object to this request to the extent that it improperly calls for a legal

conclusion or determination rather than an admission of fact.

Case 3:21-cv-00673-JCH Document 42-2 Filed 05/13/22 Page5of6

9. As of May 30, 2019 the defendants were in sole control of the inspection,
maintenance and operation of the Freightliner commercial box truck that is the subject of this
lawsuit.

ANSWER: Admit.

10. Except for the document attached hereto as Exhibit A, the defendants have no
records of any maintenance performed on the Freightliner commercial box truck that is the subject
of this lawsuit for at least five years prior to May 30, 2019.

ANSWER: Defendants admit that, except for the attached documents, they are not in
possession, custody, or control of any responsive documents, nor does the Defendants have
the practical ability to obtain any responsive documents.

11. The defendants have no records of any inspections performed on the Freightliner
commercial box truck that is the subject of this lawsuit for at least five years prior to May 30, 2019.
ANSWER: Denied.

12. On May 30, 2019, at the time of the accident that is the subject of this lawsuit,
defendant Sieunarine was operating defendant Chet Transport’s Freightliner commercial box truck
while it was not in safe operating condition, including but not limited to its axles, wheels, mms

and/or tires, in violation of Section 14-98a of the Connecticut General Statutes.
Case 3:21-cv-00673-JCH Document 42-2 Filed 05/13/22 Page 6of6

ANSWER: Defendants object to this request to the extent that it improperly calls for a legal

conclusion or determination rather than an admission of fact.

MELICK & PORTER, LLP

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